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13                           IN THE UNITED STATES DISTRICT COURT
14                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15

16   ANN FELLOWS, individually, and on behalf            Case No. '18CV2465 AJB WVG
     of all others similarly situated,
17                                                     CLASS ACTION COMPLAINT
                    Plaintiff,
18                                                     DEMAND FOR JURY TRIAL
     v.
19
     BRIDGEPOINT EDUCATION, INC., a
20   Delaware corporation,
21                  Defendant.
22

23                                   CLASS ACTION COMPLAINT

24          Plaintiff Ann Fellows (“Fellows” or “Plaintiff”) brings this Class Action Complaint against

25 Defendant Bridgepoint Education, Inc. (“Bridgepoint” or “Defendant Bridgepoint”) to stop

26 Defendant from violating the Telephone Consumer Protection Act (“TCPA”) by making

27 unsolicited, autodialed calls to consumers without their consent, including calls to consumers whose

28 telephone numbers are registered on the National Do Not Call registry (“DNC”), and to obtain

                                                -1-
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 1 injunctive and monetary relief for all persons injured by Defendant’s conduct. Plaintiff, for her

 2 Complaint, alleges as follows upon personal knowledge as to herself and her own acts and

 3 experiences, and, as to all other matters, upon information and belief, including investigation

 4 conducted by her attorneys.

 5                                                   INTRODUCTION

 6              1.      Bridgepoint is a for-profit education services company which owns and operates the

 7 University of the Rockies and Ashford University.1

 8              2.      Bridgepoint controls and manages calls to consumers on behalf of the University of

 9 the Rockies and Ashford University.

10              3.      Bridgepoint strongly pushes its telemarketers, otherwise known as “enrollment

11 counselors,” to hit their enrollment numbers that will ensure profitability for these universities.

12 Chief among the telemarketing methods is using an autodialer system.

13              4.      In Plaintiff’s case, Defendant placed 19 unsolicited, autodialed calls to her cellular

14 phone, despite Plaintiff having her phone number registered with the National Do Not Call registry

15 to prevent such calls, and despite Plaintiff’s clear request for the telemarketing calls to stop.

16              5.      In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

17 requiring Defendant to cease placing unsolicited calls to consumers’ cellular telephone numbers

18 using an automatic telephone dialing system without consent and otherwise calling telephone

19 numbers registered on the DNC, as well as an award of statutory damages to the members of the

20 Classes and costs.

21                                                        PARTIES

22              6.      Plaintiff Fellows is an Erie, Pennsylvania resident.

23              7.      Defendant Bridgepoint is a Delaware corporation headquartered in San Diego,

24 California. Defendant Bridgepoint conducts business throughout this District, the State of

25 California, and throughout the United States.

26 ///

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     1
         http://bridgepointeducation.com/aboutus/mission.htm
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 1                                             JURISDICTION AND VENUE

 2              8.       This Court has federal question subject matter jurisdiction over this action under 28

 3 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227

 4 (“TCPA”).

 5              9.       This Court has personal jurisdiction over Defendant and venue is proper in this

 6 District under 28 U.S.C. § 1391(b) because Defendant Bridgepoint is headquartered in this District,

 7 and because the wrongful conduct giving rise to this case was directed from this District.

 8                                               COMMON ALLEGATIONS

 9 Bridgepoint makes telemarketing calls to consumers to promote the University of the Rockies

10 and Ashford University

11              10.      Bridgepoint uses a variety of methods to generate leads for prospective students for

12 their universities.2

13              11.      Bridgepoint employs telemarketers a/k/a enrollment counselors, to call these leads to
14 solicit them to enroll in one of their for-profit universities.

15              12.      Bridgepoint owns and operates a call center where they use “call campaigns” and run
16 “dialer jobs on new and existing student populations” to enroll new students in Ashford University

17 and/or the University of the Rockies.3

18              13.      Bridgepoint places great pressure upon its “enrollment counselors” to enroll students
19 based on sales goals and metrics. There are numerous complaints online regarding Bridgepoint’s

20 questionable recruiting tactics posted by current and former Bridgepoint employees about the

21 pressure that is placed upon them to reach these sales quotas.4, 5

22 ///

23 ///

24

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     2
         https://bridgepointeducation.jobs/san-diego-ca/senior-manager-digital-
26 marketing/FD260E5FF37043D4B9A150B999BBA424/job/
     3
         https://bridgepointeducation.jobs/san-diego-ca/contact-center-
27 analyst/4C773E66CE984FABAEAD7AD920CC77D9/job/
     4
         https://bridgepointeducation.jobs/san-diego-ca/senior-manager-digital-
28 marketing/FD260E5FF37043D4B9A150B999BBA424/job/
     5
         https://www.courthousenews.com/wp-content/uploads/2017/11/Ashford-Bridgepoint-COMPLAINT-Calif.pdf
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 1 Bridgepoint Calls Consumers Using an Autodialer Without Consent

 2              14.     As explained by the Federal Communications Commission (“FCC”) in its 2012

 3 order, the TCPA requires “prior express written consent for all autodialed or prerecorded

 4 [solicitation] calls to wireless numbers and residential lines.” In the Matter of Rules and Regulations

 5 Implementing the Telephone Consumer Protection Act of 1991, CG No. 02-278, FCC 12-21, 27

 6 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).

 7              15.     Yet in violation of this rule, Defendant fails to obtain any express written consent

 8 prior to making autodialed solicitation calls to cellular telephone numbers such as Plaintiff’s.

 9              16.     In placing the calls that form the basis of this Complaint, Defendant utilized an

10 automatic telephone dialing system (“ATDS” or “autodialer”) in violation of the TCPA.

11 Specifically, the hardware and software used by Defendant has the capacity to generate and store

12 random numbers, and/or receive and store lists of telephone numbers, and to dial such numbers, en

13 masse, in an automated fashion without human intervention. Defendant’s automated dialing

14 equipment also is, or includes features substantially similar to, a predictive dialer, meaning that it is

15 capable of making numerous phone calls simultaneously and automatically connecting answered

16 calls to then available callers and disconnecting the rest (all without human intervention).

17              17.     Bridgepoint expressly admits it contacts consumers using an autodialer, including in

18 job postings.6, 7

19              18.     It is no surprise that consumers have complained about the incessant and unyielding
20 calls from Bridgepoint:

21             “For the past 2 weeks they have been spamming me with calls from different numbers that
22              are local to me. I’m talking 4 calls a day with 0 messages. How do I know it’s them? I called
23              back one day and sure enough it was University of the Rockies. I find it hard to believe that
24              a respected institution would stoop so low as to spam call someone that is not interested.”8
25

26
     6
         https://bridgepointeducation3.wd5.myworkdayjobs-impl.com/Bridgepoint_External/job/San-Diego-CA/Student-
27 Inquiry-Coordinator_R18-0171-2
     7
         https://www.ziprecruiter.com/c/Bridgepoint-Education/Job/Contact-Center-Analyst/-in-San-
28 Diego,CA?ojob=f2906af22a8bb3fd2d56db273923003b
     8
         https://www.facebook.com/pg/UniversityoftheRockies/reviews/?ref=page_internal
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 1           “They [have] called me multiple times even after I asked them to take my number away[.]”9
 2           “I got rocky mtn….they thanked me for selecting them for my edu., even though I did not
 3            solicit them…”10
 4           “They call me and when i answer they hang up”11
 5           “Calls multiple times a week and leaves no message.”12“The number keeps calling me each
 6            week.”13
 7                                        PLAINTIFF’S ALLEGATIONS

 8 Bridgepoint Repeatedly Called Plaintiff’s Cell Phone Number Without Plaintiff’s Consent,

 9 Despite Plaintiff Registering Her Phone Number on the DNC and Despite Plaintiff Requesting

10
     For the Calls To Stop
11

12            19.    On October 1, 2015, Plaintiff registered her cellular telephone number on the

13 National Do Not Call Registry.

14            20.    On December 5, 2016 at 4:58 pm, Plaintiff received an autodialed phone call from

15 Defendant using phone number 844-860-6556 to her cellular phone.

16            21.    Again on December 5, 2016 at 4:59 pm, just one minute after the previous call,

17 Plaintiff received an autodialed call from Defendant to her cellular phone, this time using phone

18 number 866-621-0124.

19            22.    Plaintiff received a third call on December 5, 2016 from Defendant using an

20 autodialer at 6:19 pm, using phone number 240-745-4300.

21            23.    None of the December 5, 2016 calls were answered.

22            24.    On December 6, 2016 at 12:22 pm, Plaintiff called Defendant at phone number 240-

23 745-4300 to find out who was calling her. The call was answered and the company identified itself

24 as being the University of the Rockies.

25

26
     9
       id
27   10
        https://800notes.com/Phone.aspx/1-844-860-6556
     11
        id
28   12
        id
     13
        http://numberrecords.com/8666210124.tel
                                                   -5-
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 1          25.    Plaintiff received a fourth call on December 6, 2016 at 2:31pm from Defendant using

 2 phone number 240-745-4300.

 3          26.    Additional calls came in from Defendant on December 8, 2016 at 1:26 pm and

 4 December 12, 2016 at 10:51 am. For both calls, Defendant called using phone number 866-621-

 5 0124.

 6          27.    Plaintiff received yet another call from Defendant to her cellular phone on December

 7 14, 2016 at 11:06 am. During this call, Defendant left a voicemail stating, “This is Julie with

 8 University of the Rockies. I can be reached at 866-621-0124 extension 15515.”

 9          28.    On December 16, 2016 at 4:02 pm, Plaintiff received an autodialed call on her

10 cellular phone from Defendant using phone number 866-621-0124. Plaintiff answered this call,

11 noting that there was a significant pause upon answering before a live agent named Krista began to

12 speak. A notable pause before a live agent is indicative of a call being made by an autodialer. The

13 plaintiff told Krista that she wanted the calls stopped and repeated her cell phone number so there

14 would be no confusion about which number Defendant should stop calling.

15          29.    Despite asking for the calls to stop, Plaintiff received additional unwanted autodialed

16 calls from Defendant to her cellular phone using phone number 866-621-0124 on the following

17 dates and times:

18         December 19, 2016 at 11:36 am
19         December 28, 2016 at 4:49 pm
20         December 30, 2016 at 11:30 am
21         January 3, 2017 at 1:46 pm
22         January 12, 2017 at 1:52 pm
23         January 19, 2017 at 4:16 pm
24         February 17, 2017
25         March 13, 2017 at 6:39 pm
26         April 26, 2017 at 2:37 pm
27         June 15, 2017 at 2:00 pm
28         October 13, 2017 at 3:08 pm

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 1

 2          30.     In total, Plaintiff received at least 19 unsolicited, autodialed calls to her cellular

 3 phone from Defendant, and at least 11 calls after Plaintiff asked for the calls to stop.

 4          31.     Plaintiff does not have a relationship with Bridgepoint, nor has she ever requested

 5 that Bridgepoint call her.

 6          32.     Simply put, Bridgepoint did not obtain Plaintiff’s prior express written consent to

 7 place solicitation telephone calls to her on her cellular telephone using an autodialer, or to otherwise

 8 call her number that was registered on the DNC.

 9          33.     The unauthorized telephone calls made by Bridgepoint, as alleged herein, have

10 harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed

11 Fellows’ use and enjoyment of her phone, in addition to the wear and tear on the phones’ hardware

12 (including the phones’ battery) and the consumption of memory on the phone.

13          34.     Seeking redress for these injuries, Fellows, on behalf of herself and Classes of

14 similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47 U.S.C.

15 § 227, et seq., which prohibits unsolicited autodialed telephone calls to cellular telephones and

16 unsolicited calls to telephone numbers registered on the DNC.

17                                         CLASS ALLEGATIONS

18 Class Treatment Is Appropriate for Plaintiff’s TCPA Claims Arising From Calls Made by

19 Defendant

20          35.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2) and

21 Rule 23(b)(3) on behalf of the following four Classes:

22          Autodialed No Consent Class: All persons in the United States who from four years
            prior to the filing of this action through the present (1) Defendant (or an agent acting
23          on behalf of Defendant) called, (2) on the person’s cellular telephone, (3) using the
            same equipment used to call Plaintiff, and (4) for whom Defendant claims (a) they
24          obtained prior express written consent in the same manner as Defendant claims they
            obtained prior express written consent to call Plaintiff, or (b) Defendant did not
25          obtain prior express written consent.
26          Autodialed Stop Class: All persons in the United States who from four years prior
            to the filing of this action through the present: (1) Defendant (or an agent acting on
27          behalf of Defendant) called, (2) on the person’s cellular telephone, (3) using the
            same equipment used to call Plaintiff, (4) after the person informed Defendant that
28          s/he no longer wished to receive phone calls from Defendant.

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 1          Do Not Call Registry Class: All persons in the United States who from four years
            prior to the filing of this action through the present: (1) Defendant (or an agent acting
 2          on behalf of Defendant) called more than one time, (2) within any 12-month period,
            (3) where the person’s telephone number had been listed on the National Do Not
 3          Call Registry for at least thirty days, (4) for the purpose of selling products and/or
            services, and (5) for whom Defendant claims (a) they obtained prior express written
 4          consent in the same manner as Defendant claims they obtained prior express written
            consent to call Plaintiff, or (b) Defendant did not obtain prior express written
 5          consent.

 6          Do Not Call Stop Class: All persons in the United States who from four years prior
            to the filing of this action through the present: (1) Defendant (or an agent acting on
 7          behalf of Defendant) called more than one time, (2) within any 12-month period, (3)
            for the purpose of selling products and/or services, (4) at least thirty days after the
 8          person had previously informed Defendant to stop calling.

 9          36.    The following individuals are excluded from the Classes: (1) any Judge or

10 Magistrate presiding over this action and members of their families; (2) Defendant, their

11 subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

12 have a controlling interest and their current or former employees, officers and directors; (3)

13 Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from

14 the Classes; (5) the legal representatives, successors or assigns of any such excluded persons; and

15 (6) persons whose claims against Defendant have been fully and finally adjudicated and/or released.

16 Plaintiff anticipates the need to amend the Class definitions following appropriate discovery.

17          37.    Numerosity: On information and belief, there are hundreds, if not thousands of

18 members of the Classes such that joinder of all members is impracticable.

19          38.    Commonality and Predominance: There are many questions of law and fact

20 common to the claims of Plaintiff and the Classes, and those questions predominate over any

21 questions that may affect individual members of the Classes. Common questions for the Classes

22 include, but are not necessarily limited to the following:

23                 (a) whether Defendant utilized an automatic telephone dialing system to make calls
                       to Plaintiff and the members of the Classes;
24
                   (b) whether the Defendant systematically made multiple telephone calls to Plaintiff
25
                       and consumers whose telephone numbers were registered with the National Do
26                     Not Call Registry;

27                 (c) whether the Defendant made autodialed telephone calls to Plaintiff and members
                       of the Classes without first obtaining prior express written consent to make the
28                     calls;
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 1
                   (d) whether the Defendant made autodialed telephone calls to Plaintiff and members
 2                     of the Classes despite being asked to stop calling;
 3
                   (e) whether the Defendant made telephone calls to Plaintiff and consumers whose
 4                     telephone numbers were registered with the National Do Not Call Registry more
                       than 31 days after being asked to stop calling;
 5
                   (f) whether Defendant’s conduct constitutes a violation of the TCPA; and
 6
                   (g) whether members of the Classes are entitled to treble damages based on the
 7
                       willfulness of Defendant’s conduct.
 8

 9          39.    Adequate Representation: Plaintiff will fairly and adequately represent and protect

10 the interests of the Classes, and has retained counsel competent and experienced in class actions.

11 Plaintiff has no interests antagonistic to those of the Classes, and the Defendant has no defenses

12 unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting this action on

13 behalf of the members of the Classes, and have the financial resources to do so. Neither Plaintiff nor

14 her counsel has any interest adverse to the Classes.

15          40.    Appropriateness: This class action is also appropriate for certification because the

16 Defendant has acted or refused to act on grounds generally applicable to the Classes and as a whole,

17 thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of conduct

18 toward the members of the Classes and making final class-wide injunctive relief appropriate.

19 Defendant’s business practices apply to and affect the members of the Classes uniformly, and

20 Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect to the Classes as

21 wholes, not on facts or law applicable only to Plaintiffs. Additionally, the damages suffered by

22 individual members of the Classes will likely be small relative to the burden and expense of

23 individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it would

24 be virtually impossible for the members of the Classes to obtain effective relief from Defendant’s

25 misconduct on an individual basis. A class action provides the benefits of single adjudication,

26 economies of scale, and comprehensive supervision by a single court. Economies of time, effort,

27 and expense will be fostered and uniformity of decisions will be ensured.

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 1                                    FIRST CAUSE OF ACTION
                                  Telephone Consumer Protection Act
 2                                   (Violations of 47 U.S.C. § 227)
                      (On Behalf of Plaintiff and the Autodialed No Consent Class)
 3

 4          41.     Plaintiff repeats and realleges paragraphs 1 through 40 of this Complaint and

 5 incorporates them by reference herein.

 6          42.     Defendant and/or their agents made unwanted solicitation telephone calls to cellular

 7 telephone numbers belonging to Plaintiff and the other members of the Autodialed No Consent

 8 Class using an autodialer.

 9          43.     These solicitation telephone calls were made en masse without the consent of the

10 Plaintiff and the other members of the Autodialed No Consent Class to receive such solicitation

11 telephone calls.

12          44.     Defendant did not have consent from the Plaintiff to call her.

13          45.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

14 Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are each

15 entitled to between $500 and $1,500 for each violation.

16                                  SECOND CAUSE OF ACTION
                                 Telephone Consumer Protection Act
17                                    (Violation of 47 U.S.C. § 227)
                          (On Behalf of Plaintiff and the Autodialed Stop Class)
18

19          46.     Plaintiff repeats and realleges paragraphs 1 through 40 of this Complaint and
20 incorporates them by reference herein.

21          47.     Defendant and/or their agents made unwanted solicitation telephone calls to cellular
22 telephone numbers belonging to Plaintiff and the other members of the Autodialed Stop Call Class

23 after being told to stop calling.

24          48.     These solicitation telephone calls were made en masse.
25          49.     Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of
26 Defendant’s conduct, Plaintiff and the other members of the Autodialed Stop Call Class are each

27 entitled to between $500 and $1,500 for each violation.

28 ///

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 1                                         THIRD CAUSE OF ACTION
                                       Telephone Consumer Protection Act
 2                                         (Violation of 47 U.S.C. § 227)
                             (On Behalf of Plaintiff and the Do Not Call Registry Class)
 3

 4              50.     Plaintiff repeats and realleges the paragraphs 1 through 40 of this Complaint and

 5 incorporates them by reference herein.

 6              51.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

 7 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber who

 8 has registered his or her telephone number on the national do-not-call registry of persons who do

 9 not wish to receive telephone solicitations that is maintained by the federal government.”

10              52.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

11 person or entity making telephone solicitations or telemarketing calls to wireless telephone

12 numbers.”14

13              53.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any
14 call for telemarketing purposes to a residential telephone subscriber unless such person or entity has

15 instituted procedures for maintaining a list of persons who request not to receive telemarketing calls

16 made by or on behalf of that person or entity.”

17              54.     Any “person who has received more than one telephone call within any 12-month
18 period by or on behalf of the same entity in violation of the regulations prescribed under this

19 subsection may” may bring a private action based on a violation of said regulations, which were

20 promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

21 solicitations to which they object. 47 U.S.C. § 227(c).

22              55.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
23 telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry Class

24 members who registered their respective telephone numbers on the National Do Not Call Registry, a

25

26

27
     14
          Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278,
28 Report and Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-
     153A1.pdf
                                                     - 11 -
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 1 listing of persons who do not wish to receive telephone solicitations that is maintained by the

 2 federal government.

 3           56.    Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

 4 Registry Class received more than one telephone call in a 12-month period made by or on behalf of

 5 Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

 6 conduct as alleged herein, Plaintiff and the Do Not Call Registry Class are entitled to between $500

 7 and $1,500 per violation.

 8                                  FOURTH CAUSE OF ACTION
                                  Telephone Consumer Protection Act
 9                                    (Violation of 47 U.S.C. § 227)
                     (On Behalf of Plaintiff and the Do Not Call Registry Stop Class)
10

11           57.    Plaintiff incorporates by reference paragraphs 1 through 40 of this Complaint and

12 incorporates them herein by reference.

13           58.    Defendant violated 47 C.F.R. §64.1200 by initiating calls for telemarketing purposes

14 to telephone subscribers such as Plaintiff and the Do Not Call Registry Stop Class who specifically

15 informed Defendant to stop calling them, and who received two or more additional calls within a

16 12-month period from Defendant at least thirty (30) days after informing Defendant to stop calling

17 them.

18           59.    Defendant made these calls without instituting procedures that comply with the

19 regulatory minimum standards for maintaining a list of persons who request not to receive

20 telemarketing calls from them.

21           60.    As a result of Defendant’s unlawful conduct, Plaintiff and the Do Not Call Registry

22 Stop Class suffered actual damages and, under section 47 U.S.C. § 227(c), Plaintiff and each

23 member of the Do Not Call Registry Stop Class is each entitled to between $500 and $1,500 per

24 violation.

25                                       PRAYER FOR RELIEF

26           WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

27 relief:

28

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 1      a) An order certifying the Classes as defined above; appointing Plaintiff as the representative

 2         of the Classes; and appointing her attorneys as Class Counsel;

 3      b) An award of actual and/or statutory damages and costs;

 4      c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

 5      d) An injunction requiring Defendant to cease all unsolicited calling activity, and to otherwise

 6         protect the interests of the Classes; and

 7      e) Such further and other relief as the Court deems just and proper.

 8

 9                                            JURY DEMAND

10         Plaintiff requests a jury trial.

11                                                Respectfully Submitted,

12                                                ANN FELLOWS, individually and on behalf
                                                  of those similarly situated individuals
13

14
     Dated: October 25, 2018                      By:   /s/ Amanda Benedict
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26
                                                  Attorneys for Plaintiff and the putative Classes
27
                                                  *Pro Hac Vice motion forthcoming
28

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                            CLASS ACTION COMPLAINT, DEMAND FOR JURY TRIAL
                Case 3:18-cv-02465-AJB-WVG Document 1 Filed 10/26/18 PageID.14 Page 14 of 14
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
ANN FELLOWS, individually and on behalf of all others similarly situated, BRIDGEPOINT EDUCATION, INC., a Delaware corporation,

    (b) County of Residence of First Listed Plaintiff             Erie County, PA                             County of Residence of First Listed Defendant             San Diego County, CA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

Amanda Benedict, Law Office of Amanda Benedict, 7710 Hazard Center                                                                             '18CV2465 AJB WVG
Drive, Ste E104, San Diego, CA 92108 | (760) 822-1911
amanda@amandabenedict.com
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          47 U.S.C. § 227
VI. CAUSE OF ACTION Brief description of cause:
                                          Violation of the Telephone Consumer Protection Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
October 23, 2018                                                        s/ Amanda Benedict
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
